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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


  MSM Asia Ltd.,
                                                               Case No. 1:15-cv-00706-TSE-ID
                 Judgment Creditor,

  v.

  IMRAN BUTT and NAEEM BUTT

              Judgment Debtors,
  ____________________________________

        GARNISHEE PAYPAL, INC.’S ANSWER TO GARNISHMENT SUMMONS

        Garnishee, PayPal, Inc. (“PayPal”), hereby answers the two garnishment summons, one as

 to Judgment Debtor Imran Butt and one as to Judgment Debtor Naeem Butt (collectively

 “Judgment Debtors”, as follows:

 1.     PayPal was served with both garnishment summons on June 4, 2018 (the “Service Date”).

 2.     Using the information provided in each garnishment summons, and after a reasonable

 search, PayPal states that it is not indebted to the Judgment Debtors.

 3.     Accordingly, PayPal is not and has not been indebted to the Judgment Debtors identified

 in the Summons at any time between the Service Date and the date of the filing of this Answer.

 Dated: June 29, 2018                                 Respectfully submitted,


                                                      /s/Kevin D’Olivo
                                                      Kevin D’Olivo (VSB No. 90655)
                                                      HOLLAND & KNIGHT LLP
                                                      1650 Tysons Boulevard, Suite 1700
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                                                      (703) 720-8027
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                                                      Kevin.dolivo@hklaw.com

                                                      Counsel for PayPal, Inc.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that the foregoing was served via the Court’s ECF notification system on

 the following counsel of record on June 29, 2018.


         Bradshaw Rost
         Tenenbaum & Saas PC
         4504 Walsh St
         Suite 200
         Chevy Chase, MD 20815
         (301) 961-5300
         Email: BRost@tspclaw.com

         Counsel for Judgment Creditor MSM Asia Ltd.

         I further certify that the foregoing was served via the first-class mail on the following pro

 se parties.

         Imran Butt
         52 West Park Avenue
         Bradford, Ontario, L3Z 0A4
         Canada

         Naeem Butt
         16 Peridot Road
         Brampton, Ontario, L6P 0Z5
         Canada



                                                       /s/Kevin D’Olivo
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                                                       Counsel for PayPal, Inc.




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